                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                             Case No. 15-CR-115

NICHOLAS C. HINDMAN, SR.,

                    Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Nicholas C. Hindman, Sr.,

who was represented by counsel, appeared before me for a change of plea colloquy

pursuant to Fed. R. Crim. P. 11 on December 5, 2016. ECF No. 196. Both parties

consented to my conducting the change of plea colloquy. I explained that it would be

for the U.S. District Judge alone, not me, to enter the plea and that my role was to

conduct the plea colloquy and then to prepare a report and recommendation for

ultimate disposition by Judge Stadtmueller.

      After Mr. Hindman was placed under oath and advised as to the implications

of being untruthful, I questioned him about his competency to go forward with the

hearing. I then discussed in detail each of the subjects specified in Rule 11, including

the rights he would surrender by entering a plea of guilty, the maximum penalties

associated with the charged offense, and the authority of the sentencing judge to

disregard any recommendations in the plea agreement and to give Mr. Hindman a



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maximum sentence.

      At the conclusion of this colloquy, I determined that Mr. Hindman was of

above-average intelligence, having graduated from college and earned his CPA

certification, and was fully capable of entering an informed, intelligent, and

voluntary plea. I further determined that Mr. Hindman’s guilty plea was in fact

knowing and voluntary and was not induced by threats or by promises not contained

in the plea agreement. I found that there was an independent factual basis

containing each of the essential elements of the offenses charged. Mr. Hindman

advised that he was pleading guilty to the charged offenses because he was, in fact,

guilty and that the government could prove beyond a reasonable doubt each and

every element of the charged offenses because each and every element was true as to

him. Finally, I found that, in responding to my questions, Mr. Hindman was candid,

lucid, respectful, and non-evasive, fully accepting responsibility for and

acknowledging the unlawfulness of his conduct.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Nicholas C. Hindman, Sr.’s plea of guilty to Count 10 and Count 20 be accepted; that

a presentence investigation and report be prepared according to the schedule set by

the Court; and that Mr. Hindman be adjudicated guilty and have sentence imposed

accordingly.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service


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of this Recommendation or prior to the Final Pretrial Conference, whichever is

earlier. Objections are to be filed in accordance with the Eastern District of

Wisconsin’s electronic case filing procedures. Failure to file a timely objection with

the district court shall result in a waiver of your right to appeal. If no response or

reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 6th day of December, 2016.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




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